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                      Exhibit 12
    Case 8:19-cv-01837-RGK-ADS Document 44-12 Filed 02/10/20 Page 2 of 8 Page ID
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